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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

 UNITED STATES OF AMERICA,
                                                 No. 2:24-cr-00035-NT
            v.

 WINSTON MCLEOD,
                            Defendant.

                   PRELIMINARY ORDER OF FORFEITURE
                           Fed. R. Crim.P. 32.2(b)

      IT IS HEREBY ORDERED THAT:

      1.     As the result of the defendant’s guilty plea to Counts One, Four, and

Five of the Indictment, charging violations of 18 U.S.C. §§ 371, 2114(a), 18 U.S.C. §§

2114(a), 2, and 18 U.S.C. §§ 2114(a), 2, respectively, and for which the United States

sought forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), the

defendant shall forfeit to the United States any property, real or personal, which

constitutes or is derived from proceeds traceable to said violations. The property

includes, but is not limited to, $4,382.00 in United States currency recovered on the

defendant’s person on January 20, 2024 (“the Property”).

      2.     The Court has determined, based on the defendant's plea and evidence

already in the record, that the defendant has an interest in the Property, that the

government has established the requisite nexus between such Property and the

offense, and that the Property is subject to forfeiture.

      3.     Upon the entry of this Order, the United States is authorized to seize

the Property, whether held by the defendant or by a third party, and to conduct

discovery proper in identifying, locating, or disposing of the Property subject to

forfeiture, in accordance with Fed.R.Crim.P. 32.2(b)(3).
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      4.     Upon the entry of this Order, the United States is authorized to

commence any applicable proceeding to comply with the statutes governing third-

party rights, including giving notice of this Order.

      5.     The United States shall publish notice of the Order and its intent to

dispose of the Property in such manner as the United States may direct. The United

States may, to the extent practicable, provide written notice to any person known to

have an alleged interest in the Property.

      6.     Any person, other than the defendant, asserting a legal interest in the

Property may, within 30 days of the final publication of notice or receipt of notice,

whichever is earlier, petition the Court for a hearing without a jury to adjudicate the

validity of his/her alleged interest in the Property.

      7.     Any petition filed by a third party asserting an interest in the Property

shall be signed by the petitioner under penalty of perjury and shall set forth the

nature and extent of the petitioner's right, title, or interest in the Property, the time

and circumstances of the petitioner's acquisition of the right, title, or interest in the

Property, and any additional facts supporting the petitioner's claim and the relief

sought.

      8.     After the disposition of any motion filed under Fed.R.Crim.P.

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such

discovery is necessary or desirable to resolve factual issues.
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       9.     The United States shall have clear title to the Property following the

Court's disposition of all third-party interests or, if none, following the expiration of

the period provided in 21 U.S.C. § 853(n)(2), as incorporated by 28 U.S.C. § 2461(c),

for the filing of third-party petitions.

       10.    Pursuant to Rule 32.2(b)(4), the Order of Forfeiture shall become final

as to the defendant at the time of sentencing or before sentencing if the defendant

consents, and shall be made part of the sentence and included in the judgment.

       11.    The Court shall retain jurisdiction in this case for the purpose of

enforcing this Order and to amend it as necessary, pursuant to Fed.R.Crim.P. 32.2(e).

       SO ORDERED,



                                               /s/ Nancy Torresen
                                               U.S. District Judge


Dated this 26th day of July, 2024.
